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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
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    UNITED STATES OF AMERICA

                           -v-                                           5:15-CR-81-1 (NAM)

    ANDREW RAYMOND,

                                      Defendant.
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    APPEARANCES:

    United States Attorney, Northern District of New York
    Carla B. Freedman, Esq., Assistant United States Attorney
    Michael F. Perry, Esq., Assistant United States Attorney
    Tamara Thomson, Esq., Assistant United States Attorney
    100 South Clinton Street
    Syracuse, New York 13261

    Office of Michael Spano
    Michael Spano, Esq., of counsel
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    304 South Franklin Street
    Syracuse, New York 13202
    Attorney for Andrew Raymond

    Hon. Norman A. Mordue, Senior U.S. District Judge:

                              MEMORANDUM-DECISION AND ORDER

           On July 26, 2017, after a two-week trial, a jury convicted defendant Andrew Raymond

    (“Raymond”) and his codefendant Brian Requena of both counts of an indictment charging them
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    with conspiracy to possess with the intent to distribute and to distribute a controlled substance

    analogue in violation of 21 U.S.C. §§ 84l(a)(1);(b)(1)(C); and 846 (Count One), and conspiracy to

    commit promotional and international money laundering in violation of 18 U.S.C. §§

    1956(a)(l)(A)(i);(a)(2)(A); and (h) (Count Two). Sentencing is scheduled for December 19, 2017.

    Presently before the Court is Raymond’s motion (Dkt. No. 238), filed on November 29, 2017, to

    set aside the jury verdict on Count One and for a new trial under Fed. R. Crim. P. 33.
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               The motion is untimely. Rule 33(b)(2) provides: “Any motion for a new trial grounded on

    any reason other than newly discovered evidence must be filed within 14 days after the verdict or

    finding of guilty.” Thus, the deadline for the motion was August 9, 2017.

               After trial and conviction, Raymond moved for appointment of CJA counsel (Dkt. No.

    210). On October 30, 2017, the Court granted the motion (Dkt. No. 229) and appointed Michael

    Spano, Esq., who had first appeared on behalf of Raymond as retained local counsel on May 12,

    2015. Raymond had retained other attorneys as lead and trial counsel, and Attorney Spano had
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    little involvement with the case until his recent appointment as CJA counsel.1 Attorney Spano

    made the instant motion on November 29, 2017. In his letter to the Court accompanying the Rule

    33 motion, Attorney Spano requests the Court to allow late filing based on Fed. R. Crim. P. Rule

    45(b)(1)(B), which provides: “When an act must or may be done within a specified period, the

    court on its own may extend the time, or for good cause may do so on a party’s motion made ...
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    after the time expires if the party failed to act because of excusable neglect.” Attorney Spano’s

    letter states: “Mr. Raymond tells me that he immediately instructed his previous attorneys to file a

    Rule 33 Motion complaining of the same issue in this motion – his attorneys ignored his request

    and the time limit passed.”

               Raymond is not entitled to relief under Rule 45(b)(1)(B), because he has made no
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    evidentiary showing of excusable neglect. There is no sworn statement from Raymond

    supporting his representation to Spano that he immediately instructed his previous attorneys to

    file a Rule 33 motion. Further, the representation is conclusory, because it lacks specific facts

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             On April 29, 2015, Raymond retained Anthony Brooklier, Esq., as lead counsel. Shortly after
    Attorney Brooklier’s death on November 2, 2015, Raymond retained Donald B. Marks, Esq. and Darren
    T. Kavinoky, Esq., as lead counsel. Later, before trial, Raymond also retained Michael P.R. Reed, Esq.
    and Pamela O’Leary Tower, Esq.

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     such as when, where, and to whom Raymond made the alleged request – all of which information

     would be within Raymond’s personal knowledge. The Court notes also that in Raymond’s

     October 3, 2017 motion to appoint CJA counsel, his complaints about retained trial counsel did

     not refer to a failure to make a Rule 33 motion. Finally, there is no reasonable excuse for the 30-

     day delay after the appointment of Attorney Spano.

                In any event, there is no merit to Raymond’s motion. The motion primarily argues that

     the Court’s jury instruction regarding unanimity was erroneous. At the charge conference on July
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     24, 2017, Raymond’s trial attorneys did not object to this aspect of the jury charge, which stated:

                       In order to convict a defendant on Count One, you must unanimously agree
                       that the Government has proven that at least one of the substances identified
                       in Count One of the indictment qualifies as a controlled substance analogue.
                       You need not, however, unanimously agree on which of the substance or
                       substances qualify as a controlled substance analogue.... Again, you need not
                       unanimously agree on which of the substances a Defendant knowingly
                       conspired to distribute or possess with the intent to distribute.
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     This instruction is correct.2 It is supported by holdings in numerous cases – some of which are

     cited below – involving conspiracies to possess with intent to distribute and to distribute

     controlled substances. Such holdings apply to the instant case, which involves controlled

     substance analogues. See 21 U.S.C. § 813 (“A controlled substance analogue shall, to the extent

     intended for human consumption, be treated, for the purposes of any Federal law as a controlled
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     substance[.]”).

                As relevant here, under 21 U.S.C. § 841(a)(1), it is unlawful “for any person knowingly or

     intentionally ... to ... distribute ... or possess with intent to ... distribute ... a controlled substance.”



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              The instructions also correctly charge the knowledge requirement and the definition of
    controlled substance analogue.

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    The specific type of controlled substance is not an element of the crime. Under 21 U.S.C. § 846,

    any person who conspires to violate section 841(a)(1) is subject to the same penalties as those

    prescribed for the offense that was the object of the conspiracy. Thus, to obtain a conviction in a

    controlled substance conspiracy case, the government must “establish to the jury’s satisfaction

    beyond a reasonable doubt that [defendant] knew that she was engaged in a conspiracy

    [involving] ... some controlled substance.” United States v. Morgan, 385 F.3d 196, 206 (2d Cir.

    2004) (emphasis added); accord United States v. Anderson, 747 F.3d 51, 61 (2d Cir. 2014)
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    (stating that “to convict [defendant] of the conspiracy charged, the government was required to

    prove that [he] knew the conspiracy involved controlled substances, and that he participated in the

    conspiracy with the specific intent that controlled substances be possessed by him and

    distributed.”); United States v. Salinas, 763 F.3d 869, 877 (7th Cir. 2014) (same); United States v.

    Anaya, 727 F.3d 1043, 1051 (10th Cir. 2013) (“21 U.S.C. § 841(a)(1) does not require the
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    Government to prove a defendant knew the precise nature of the controlled substance he

    possessed, so long as he knew he did in fact possess a controlled substance.” (internal quotation

    marks omitted)); United States v. Burgos, 703 F.3d 1, 10 (1st Cir. 2012) (“[T]he Government

    must show that the defendant knew the conspiracy involved a controlled substance, but need not

    show that the defendant knew the specific controlled substance being distributed.”); United States
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    v. Patino-Prado, 533 F.3d 304, 312 (5th Cir. 2008) (rejecting argument that, if government

    alleges defendant conspired to possess several controlled substances, jury must unanimously

    agree about each of several controlled substances defendant’s conspiracy was actually aimed at

    possessing; holding that government is only required “to show that the defendant knew that the

    substance was a controlled substance.”).


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            Accordingly, in the instant case, where more than one controlled substance analogue was

    charged, the jury was not required to agree on which controlled substance analogue or analogues

    Raymond knowingly conspired to possess with intent to distribute and to distribute. Rather, the

    jury was required to find unanimously that Raymond knowingly conspired to possess with the

    intent to distribute and to distribute a controlled substance analogue. This is what the Court

    charged in the instant case. Raymond’s argument in this respect lacks merit, as do the other

    arguments he raises on this motion.
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            It is therefore

            ORDERED that Andrew Raymond’s motion (Dkt. No. 238) to set aside the verdict and for

    a new trial is denied; and it is further

            ORDERED that the Clerk of the Court is directed to serve this Memorandum-Decision

    and Order in accordance with the Local Rules of the Northern District of New York.
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            IT IS SO ORDERED.

            Date: December 11, 2017
                  Syracuse, New York
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